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                       Exhibit 4
                                 to

           Memorandum of Law in Support of United States’
               Motion to Consolidate Cases for Trial
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


                                                )
IN RE PHARMACEUTICAL INDUSTRY                   )           MDL No. 1456
AVERAGE WHOLESALE PRICE                         )           Master File No. 01-CV-12257-PBS
LITIGATION                                      )           Subcategory Case No. 06-CV-11337-PBS
                                                )
                                                )           Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                       )
United States of America ex rel. Ven-A-Care of )            Magistrate Judge Marianne B. Bowler
the Florida Keys, Inc., et al. v. Boehringer    )
Ingelheim Corporation, et al., Civil Action No. )
07-10248-PBS                                    )


      DEFENDANTS ROXANE LABORATORIES, INC., n/k/a BOEHRINGER
     INGELHEIM ROXANE, INC.’S AND ROXANE LABORATORIES, INC.’S
SUPPLEMENTAL INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. RULE 26

        Roxane Laboratories, Inc., n/k/a Boehringer Ingelheim Roxane, Inc. and Roxane

Laboratories, Inc. (collectively “Roxane”)1 make the following supplemental initial disclosures

pursuant to Rule 26 of the Federal Rules of Civil Procedure and Local Rule 26.2(A):




1   These separate corporate entities are providing these joint Disclosures because they are products of a recent
    corporate reorganization. In April 2005, Roxane Laboratories, Inc., a Delaware corporation, changed its name
    to Boehringer Ingelheim Roxane, Inc (“BIRI”). BIRI remains a Delaware corporation. BIRI continues to
    manufacture pharmaceutical products. Also in April 2005, a new corporation, Roxane Laboratories, Inc.
    (“RLI”), was incorporated in Nevada. As of that time, the new Nevada corporation assumed responsibilities for
    sales and marketing of multi-source pharmaceutical products sold under the Roxane trade name. Because the
    focus of this suit is on the sale and marketing of Roxane products, for the purpose of this Response, all
    responses regarding the time period before April 2005 will be deemed to have been made on behalf of BIRI
    while all responses regarding the time period after April 2005 will be deemed to have been made on behalf of
    RLI.
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(A)     The name and, if known, the address and telephone number of each individual
        likely to have discoverable information that the disclosing party may use to support
        its claims or defenses, unless solely for impeachment, identifying the subjects of the
        information.

RESPONSE:

       Roxane’s investigation into the facts and circumstances surrounding this action and other

AWP cases is not yet complete. Roxane accordingly bases this Response on the information

presently within its possession and reserves the right to supplement or amend this Response as

appropriate and to the extent required by the Federal Rules of Civil Procedure. Subject to the

foregoing, Roxane herein discloses the following current and former Roxane employees, who

may have knowledge of relevant facts and circumstances because of their role in, or familiarity

with, the pricing and/or marketing of Roxane’s products, the reporting and/or determination of

prices and pricing benchmarks, and/or the calculation of AMP:



         Name           Address and Telephone Number                Specific Subject(s) of
                                                                         Information
   Joe DeCapua         Boehringer Ingelheim                     Medicaid rebates; the
                       Pharmaceuticals, Inc.                    calculation of AMP and Best
                       900 Ridgebury Road                       Price for Roxane products.
                       P.O. Box 368
                       Ridgefield, CT 06877-0368
                       Ph: (203) 798-9988
   Mike Doan           1436 Chadwick Ridge Drive                Marketing and/or sale of
                       Lawrenceville, GA 30043                  Roxane products to
                       Ph: Not Available                        wholesalers and pharmacies;
                                                                contracting between Roxane
                                                                and wholesalers; contracting
                                                                between Roxane and
                                                                pharmacies.




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      Name         Address and Telephone Number       Specific Subject(s) of
                                                           Information
Richard Feldman   14 Island Rock                  Marketing and/or sale of
                  Plymouth, MA 02360              Roxane products to
                  Ph: Not Available               wholesalers and pharmacies;
                                                  contracting between Roxane
                                                  and wholesalers; contracting
                                                  between Roxane and
                                                  pharmacies; pricing of
                                                  Roxane products;
                                                  communications with pricing
                                                  compendia.
Dawn Gordon       Boehringer Ingelheim            Marketing and/or sale of
                  Pharmaceuticals, Inc.           Roxane products to
                  900 Ridgebury Road              wholesalers and pharmacies;
                  P.O. Box 368                    contracting between Roxane
                  Ridgefield, CT 06877-0368       and wholesalers; contracting
                  Ph: (203) 798-9988              between Roxane and
                                                  pharmacies.
Christine Marsh   Boehringer Ingelheim            Contract administration for
                  Pharmaceuticals, Inc.           Roxane products.
                  900 Ridgebury Road
                  P.O. Box 368
                  Ridgefield, CT 06877-0368
                  Ph: (203) 798-9988
Lesli Paoletti    Roxane Laboratories, Inc.       Pricing and marketing of
                  300 Northfield Road             Roxane products.
                  Bedford, OH 44146
                  Ph: (800) 562-4797

John Powers       6054 Hampton Corners North      Contract administration for
                  Hilliard, OH 43206              Roxane products.
                  Ph: Not Available
James             Boehringer Ingelheim            Eligibility of Roxane products
Rowenhorst        Pharmaceuticals, Inc.           for third-party reimbursement.
                  900 Ridgebury Road
                  P.O. Box 368
                  Ridgefield, CT 06877-0368
                  Ph: (203) 798-9988
Steve Snyder      Ben Venue Laboratories, Inc.    Marketing and/or sale of
                  300 Northfield Road             Roxane products to
                  Bedford, OH 44146               wholesalers and pharmacies;
                  Ph: (800) 562-4797              contracting between Roxane
                                                  and wholesalers; contracting
                                                  between Roxane and
                                                  pharmacies.



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         Name           Address and Telephone Number              Specific Subject(s) of
                                                                       Information
   Robert Sykora       6340 Sugarloaf Parkway                 Marketing and/or sale of
                       Suite 400                              Roxane products to
                       Duluth, Georgia 30097                  wholesalers and pharmacies;
                       Ph: Not Available                      contracting between Roxane
                                                              and wholesalers; contracting
                                                              between Roxane and
                                                              pharmacies.
   Anthony             Boehringer Ingelheim                   Marketing and/or sale of
   Tavolaro            Pharmaceuticals, Inc.                  Roxane products to
                       900 Ridgebury Road                     wholesalers and pharmacies;
                       P.O. Box 368                           contracting between Roxane
                       Ridgefield, CT 06877-0368              and wholesalers; contracting
                       Ph: (203) 798-9988                     between Roxane and
                                                              pharmacies.
   Edward J. Tupa      P.O. Box 1094                          Pricing, marketing, and/or
                       Granby, CO 80446                       sale of Roxane products.
                       Ph: Not Available
   Tom Via             Boehringer Ingelheim                   Marketing and/or sale of
                       Pharmaceuticals, Inc.                  Roxane products to
                       900 Ridgebury Road                     wholesalers and pharmacies;
                       P.O. Box 368                           contracting between Roxane
                       Ridgefield, CT 06877-0368              and wholesalers; contracting
                       Ph: (203) 798-9988                     between Roxane and
                                                              pharmacies.
   Judy Waterer        Roxane Laboratories, Inc.              Pricing and marketing of
                       300 Northfield Road                    Roxane products.
                       Bedford, OH 44146
                       Ph: (800) 562-4797


       Roxane does not disclose herein the names of inside or outside counsel whose knowledge

of relevant facts and circumstances relate only to their activities in providing legal advice and

therefore is protected by the attorney-client privilege. Current and former Roxane employees,

including those listed above, should be contacted exclusively through counsel for Roxane:




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       Helen E. Witt, P.C.
       Anne M. Sidrys, P.C.
       Eric T. Gortner
       Kirkland & Ellis LLP
       200 E. Randolph Drive
       Chicago, IL 60601
       (312) 861-2000 (Telephone)
       (312) 861-2200 (Facsimile)

       Roxane further states that current and former employees, representatives, and/or officials

of the following entities are likely to have discoverable information in this case: branches,

agencies, and departments of the federal government, including, but not limited to the

Department of Health and Human Services (“HHS”), the Office of the Inspector General

(“OIG”), and the Centers for Medicare and Medicaid Services (“CMS”), f/k/a Health Care

Financing Administration (“HCFA”); Ven-A-Care of the Florida Keys, Inc. (“Ven-A-Care”);

State health care agencies, including, but not limited to the Medicaid agencies for each of the

fifty states; independent pricing compendia publishers, including, but not limited to First Data

Bank; and wholesalers for pharmaceutical products, including, but not limited to

AmerisourceBergen and McKesson. The identities of many of the individuals referenced above

are best known to Plaintiffs. Notwithstanding, Roxane herein discloses the following current and

former employees, representatives, and/or officials of the entities referenced above, who are

likely to have discoverable information that will support some or all of Roxane’s defenses:


       HHS - OIG

       Linda Boone Abbott
       Office of Evaluation and Inspections
       7500 Security Boulevard
       Baltimore, MD 21244
       (410) 786-4662




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June Gibbs Brown
7306 Bloomsbury Lane
Spotsylvania, VA 22553

Patricia Davis
Director, Medicare and Medicaid Unit
Office of Evaluation and Inspections
7500 Security Boulevard
Baltimore, MD 21244-1850
(410) 786-3148

George F. Grob
330 Independence Ave., S.W., Room 5660
Washington, DC 20201

Cynthia Hansford
Program Assistant
Office of Evaluation and Inspections
150 S. Independence Mall West
Public Ledger Building, Room 356
Philadelphia, PA 19106
(215) 861-4549

Nancy J. Molyneaux
Program Analyst
Office of Evaluation and Inspections
150 S. Independence Mall West
Public Ledger Building, Room 356
Philadelphia, PA 19106-9111
(215) 861-4544

Linda M. Ragone
Deputy Regional Inspector General
Office of Evaluation and Inspections
150 S. Independence Mall West
Public Ledger Building, Room 356
Philadelphia, PA 19106-9111
(215) 861-4561

George M. Reeb
Assistant Inspector General, CMS
7500 Security Boulevard, Room N2-25-26
Baltimore, MD 21244-1850
(410) 786-7104




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Janet Rehnquist
Former Inspector General
The Rehnquist Group, PLLC
1050 Connecticut Avenue, N.W., 4th Floor
Washington, D.C. 20036
(202) 715-8536

Amy Sernyak
44 Spring House Lane
Media, PA 19063

Donna E. Shalala
President, University of Miami
230 Ashe Building
Coral Gables, FL 33124
(305) 284-2211

Lisa Foley Stand
(Current address unknown)

David Tawes
Director Medicare and Medicaid Pricing Unit
Office of Evaluation and Inspections
150 S. Independence Mall West
Public Ledger Building, Room 356
Philadelphia, PA 19106-9111
(215) 861-4552

Robert A. Vito
Regional Inspector General for Evaluation and Inspections, Philadelphia
150 S. Independence Mall West
Public Ledger Building
Philadelphia, PA 19106-9111
(215) 861-4546

Stuart Wright
330 Independence Ave., SW, Room 5272A
Washington, DC 20201
(202) 619-0480




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CMS - HCFA

Thomas A. Ault
Partner, Health Policy Alternatives
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Charles Booth
Former Director of Financial Services
Office of Finance Management
8024 Ridgley Oak Drive
Baltimore, MD 21234

Ira Burney
200 Independence Ave., S.W.
Humphrey Building, Room 355G-04
Washington, D.C. 20201
(202) 690-7600

Kathleen Buto
Vice President for Health Policy, Government Affairs
Johnson & Johnson
(202) 589-1000

Frank J. Camozzi
HCFA Region IX
90 7th Street, Suite 5-300 (5W)
San Francisco, CA 94103
(415) 744-3646

Debbie Chang
Deputy Secretary for Health Care Financing
Maryland Department of Health & Mental Hygiene
201 West Preston Street
Baltimore, MD 21201
(410) 767-4664

Nancy-Ann Min DeParle
15 Everett Street 2
Cambridge, MA 02138

T. Randolf Graydon
(Current address unknown)




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 Tom Gustafson
 (Current address unknown)

 Louis B. Hays
 19 Cornfield Lane
 Madison, CT 06443

 Thomas Hoyer
 Center for Beneficiary Choices
 7500 Security Boulevard
 Baltimore, MD 21244-1850

 Rubin King-Shaw Jr.
 Former Deputy Administrator and Chief Operating Officer
 (Current address unknown)

 Lawrence L. McDonough
 HCFA Region IX
 (Current address unknown)

 Michael McMullan
 7500 Security Blvd., Room C5-18, 27
 Baltimore, MD 21244-1850
 (410) 786-4280

 Richard Morris
 (Current address unknown)

 Robert Niemann
 (Current address unknown)
 (410) 786-4531

 John J. O’Hara
 HCFA Region IX
 (Current address unknown)

 Bernard (“Bernie”) Patashnik
 (Current address unknown)

 Larry Reed
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 Baltimore, MD 21244
 (410) 786-3000




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 7500 Security Boulevard, Room SL-13-12
 Baltimore, MD 21244-1850
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 Thomas A. Scully
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 The Atlantic Building
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 Washington, DC 20004-1404
 (202) 756-3459

 Dennis G. Smith
 Director
 Virginia Department of Medical Assistance Services
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 Richmond, VA 23219
 (804) 786-7933

 William Toby
 (Current address unknown)

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 Former HCFA Administrator
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 New York, NY 10018

 Stanley Weintraub
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 Gail R. Wilensky
 Senior Fellow, Project HOPE
 601 Pennsylvania Ave., N.W.,
 Suite 900 South Building
 Washington, DC 20004
 (202) 220-3082
 (301) 656-7401

 Federal Legislators

 Sen. Charles Ernest Grassley
 135 Hart Senate Building
 Washington, D.C. 20510-1501
 (202) 224-3744




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 Rep. Fortney Pete Stark
 39300 Civic Center Dr., Suite 220
 Fremont, CA 94538
 (510) 494-1388

 Government Counsel

 George B. Henderson, II
 Assistant U.S. Attorney
 United States Department of Justice
 John Joseph Moakley U.S. Courthouse
 1 Courthouse Way, Suite 9200
 Boston, Massachusetts 02210

 Mark A. Lavine
 Special Assistant U.S. Attorney
 99 N.E. 4th Street, 3rd Floor
 Miami, FL 33132

 Mary E. Riordan
 Senior Counsel
 Office of Counsel for the Inspector General
 U.S. Department of Health and Human Services
 330 Independence Avenue, SW
 Cohen Building, Room 5527
 Washington, DC 20201

 Ven-A-Care

 Zachary T. Bentley
 Ven-A-Care of the Florida Keys, Inc.
 c/o James J. Breen
 The Breen Law Firm, P.A.
 5755 Northpoint Parkway, Suite 39
 Alpharetta, GA 30022
 (770) 740-0008

 John Calleja
 (Current address unknown)




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       Luis E. Cobo
       Ven-A-Care of the Florida Keys, Inc.
       c/o James J. Breen
       The Breen Law Firm, P.A.
       5755 Northpoint Parkway, Suite 39
       Alpharetta, GA 30022
       (770) 740-0008

       T. Mark Jones
       Ven-A-Care of the Florida Keys, Inc.
       c/o James J. Breen
       The Breen Law Firm, P.A.
       5755 Northpoint Parkway, Suite 39
       Alpharetta, GA 30022
       (770) 740-0008

       John Lockwood
       Ven-A-Care of the Florida Keys, Inc.
       c/o James J. Breen
       The Breen Law Firm, P.A.
       5755 Northpoint Parkway, Suite 39
       Alpharetta, GA 30022
       (770) 740-0008

       First DataBank

       Ed Edelstein
       (Current address unknown)

       Joseph L. Hirschmann
       (Current address unknown)

       Patricia Kay Morgan
       c/o Gold Standard
       302 Knights Run Avenue, Suite 800
       Tampa, Florida 33602
       (813) 258-4747

       Roxane incorporates by reference all additional Plaintiff and third party witnesses

identified on pp. 6-77 of Defendant Dey’s Second Supplemental Initial Disclosures (attached

hereto as Exhibit A), and additionally identifies the following person(s):




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       HHS - OIG

       William Shrigley
       (Current address unknown)


       Roxane further incorporates by reference any additional persons identified in the Rule 26

disclosures of any other party to this action, including those persons identified in any Rule 26

disclosures filed by Defendants Abbott and Dey in both their federal actions and the California

State AWP litigation. Roxane’s identification of individuals in this Response shall not be

construed as an admission by Roxane that any information possessed by such individuals is

relevant to or admissible in this litigation. This Response is not a waiver of any objections that

Roxane may have.



(B)     A copy of, or a description by category and location of, all documents, data
        compilations, and tangible things that are in the possession, custody, or control of
        the party and that the disclosing party may use to support its claims or defenses,
        unless solely for impeachment.

RESPONSE:

       Roxane’s investigation into the facts and circumstances surrounding this action is not yet

complete. Roxane anticipates that it will discover additional documents in the course of its

further investigation and via discovery in this case and other AWP cases. Accordingly, Roxane

reserves the right to use such additional documents, as well as any other documents listed in the

Rule 26 disclosures of the other parties to this action, in connection with these proceedings and

at trial. Roxane further reserves the right to supplement or amend this Response as appropriate

and to the extent required by the Federal Rules of Civil Procedure. Subject to the foregoing,

Roxane herein sets forth a description by category of documents, data compilations, and tangible




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things that it has or controls, and of which it is aware at this time, that it may use to support its

claims or defenses in this matter:


Document Category                                                   Location(s)

1. Communications between Roxane and independent                    Kirkland & Ellis LLP
pricing compendia publishers regarding their practices              200 E. Randolph Drive
and procedures and the pricing and/or listing of                    Chicago, IL 60601
Azathioprine (NDC 00054408425), Diclofenac Sodium
(NDC 00054422125, 00054422225), Furosemide (NDC                     On information and belief, the
00054329446, 00054329450, 00054429725,                              respective pricing compendia
00054829725, 00054429731, 00054429925,                              publishers may also have copies of
00054829925, 00054429931, 00054430125,                              these documents.
00054830125, 00054430129), Hydromorphone (NDC
00054439225, 00054439425), Ipratropium Bromide
(NDC 00054840211, 00054840213, 00054840221,
00054840411, 00054840413, 00054840421), Oramorph
SR (NDC 00054479025, 00054480519, 00054480525,
00054480527, 00054479225, 00054479325), Roxanol
(NDC 00054375144, 00054375150, 00054375158),
Roxicodone (NDC 00054465825, 00054466525) and
Sodium Polystyrene O/S (NDC 00054380563,
00054881611).2




2   Roxane reserves the right to limit its production of documents should any of the drugs or NDCs listed above
    and below be dismissed or otherwise removed from the case.




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Document Category                                             Location(s)

2. Communications between Roxane and the Centers for          Kirkland & Ellis LLP
Medicare & Medicaid Services (“CMS”), agents of               200 E. Randolph Drive
CMS, and/or other federal or state agencies, offices, and     Chicago, IL 60601
departments regarding the pricing, pricing benchmarks,
rebates, supplemental rebates, and/or reimbursement of        On information and belief, copies of
Azathioprine (NDC 00054408425), Diclofenac Sodium             these documents can also be found
(NDC 00054422125, 00054422225), Furosemide (NDC               with the applicable federal agencies,
00054329446, 00054329450, 00054429725,                        including, but not limited to:
00054829725, 00054429731, 00054429925,
00054829925, 00054429931, 00054430125,                        Centers for Medicare & Medicaid
00054830125, 00054430129), Hydromorphone (NDC                 Services
00054439225, 00054439425), Ipratropium Bromide                7111 Security Boulevard
(NDC 00054840211, 00054840213, 00054840221,                   Baltimore, MD 21244
00054840411, 00054840413, 00054840421), Oramorph
SR (NDC 00054479025, 00054480519, 00054480525,
00054480527, 00054479225, 00054479325), Roxanol
(NDC 00054375144, 00054375150, 00054375158),
Roxicodone (NDC 00054465825, 00054466525) and
Sodium Polystyrene O/S (NDC 00054380563,
00054881611).
3. Communications between Roxane and federal and              Kirkland & Ellis LLP
state purchasers regarding the pricing of or rebates for      200 E. Randolph Drive
Azathioprine (NDC 00054408425), Diclofenac Sodium             Chicago, IL 60601
(NDC 00054422125, 00054422225), Furosemide (NDC
00054329446, 00054329450, 00054429725,                        On information and belief, copies of
00054829725, 00054429731, 00054429925,                        these documents can also be found
00054829925, 00054429931, 00054430125,                        with the applicable federal and state
00054830125, 00054430129), Hydromorphone (NDC                 departments and subdivisions,
00054439225, 00054439425), Ipratropium Bromide                including, but not limited to:
(NDC 00054840211, 00054840213, 00054840221,
00054840411, 00054840413, 00054840421), Oramorph              Military Health System
SR (NDC 00054479025, 00054480519, 00054480525,                The Pentagon
00054480527, 00054479225, 00054479325), Roxanol               Washington, D.C. 20301-1200
(NDC 00054375144, 00054375150, 00054375158),
Roxicodone (NDC 00054465825, 00054466525) and                 Veterans Health Administration
Sodium Polystyrene O/S (NDC 00054380563,                      810 Vermont Ave. NW
00054881611).                                                 Washington, DC 20420
4. Communications between Ven-A-Care and CMS,                 On information and belief, these
agents of CMS, and/or other federal or state agencies,        documents are in the custody and
offices, departments, and/or legislators, if any, regarding   control of Ven-A-Care and the
the pricing, pricing benchmarks, and/or reimbursement         Government.
for pharmaceutical products.




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Document Category                                             Location(s)

5. Publicly-available reports that did alert or should have   These documents are public
alerted the federal and state governments that figures        documents that are readily available
reported to it by First Data Bank and other third party       to the Government and the Relator.
pricing compendia did not reflect the acquisition costs of    The majority of the reports were
drugs for health care providers. See, e.g., Medicare          issued by the Office of the Inspector
Action Transmittal No. 84-12, reprinted in Medicare and       General or the General Accounting
Medicaid Guide (CCH) § 34,157 at 2 (1984); various            Office and therefore are in the
Office of the Inspector General reports from 1984             custody and control of the
onward addressing Medicare and Medicaid payments for          Government.
prescription drugs; Bill Alpert, Hooked on Drugs,
Barron’s, Vol. LXXVI, June 10, 1996, at 15; Spencer
Rich, Battling the High Prices Medicare Pays for Drugs,
The Washington Post, Jan. 2, 1997.
6. Roxane’s Rebate Agreements entered into with the           On information and belief, these
Federal Government and/or state governments.                  documents are in the custody and
                                                              control of the Government and can
                                                              be found at the following locations:

                                                              Office of the Secretary
                                                              U.S. Department of Health & Human
                                                              Services
                                                              200 Independence Ave. S.W.
                                                              Washington, D.C. 20201

                                                              Centers for Medicare & Medicaid
                                                              Services
                                                              7111 Security Boulevard
                                                              Baltimore, MD 21244

7. For the relevant time period, Roxane’s quarterly AMP On information and belief, these data
filings to CMS for its products at issue in this case.  are in the custody and control of the
                                                        Government and can be found at the
                                                        following location:

                                                              Centers for Medicare & Medicaid
                                                              Services
                                                              7111 Security Boulevard
                                                              Baltimore, MD 21244
8. All documents referenced in the Memorandum filed           Kirkland & Ellis LLP
in support of Defendants’ Joint Motion to Dismiss in this     200 E. Randolph Drive
case, incorporated herein by reference.                       Chicago, IL 60601




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Document Category                                          Location(s)

9. The Settlement Agreement reached between Roxane         Kirkland & Ellis LLP
and the State of Texas in the Texas AWP Litigation.        200 E. Randolph Drive
                                                           Chicago, IL 60601

                                                           On information and belief, copies of
                                                           these documents can also be found at
                                                           the following location:

                                                           Ven-A-Care of the Florida Keys, Inc.
                                                           c/o James J. Breen
                                                           The Breen Law Firm, P.A.
                                                           5755 Northpoint Parkway
                                                           Suite 39
                                                           Alpharetta, GA 30022

10. Documents originating from the Texas AWP               Kirkland & Ellis LLP
Litigation that demonstrate that the federal government    200 E. Randolph Drive
knew of its possible claims against Roxane for most        Chicago, IL 60601
target drugs long before the Government now claims to
have acquired such knowledge, including, but not limited   On information and belief, copies of
to documents revealing that Government attorneys           these documents can also be found at
attended depositions of Roxane employees.                  the following location:

                                                           Ven-A-Care of the Florida Keys, Inc.
                                                           c/o James J. Breen
                                                           The Breen Law Firm, P.A.
                                                           5755 Northpoint Parkway
                                                           Suite 39
                                                           Alpharetta, GA 30022


       Roxane specifically excludes from these Initial Disclosures, any documents protected

from disclosure by the attorney-client privilege or the work-product doctrine, including, but not

limited to, the following types of documents:


        1.     Documents seeking or reflecting legal advice given to Roxane by Roxane's
               counsel. These communications have not been voluntarily disclosed to any
               persons other than employees of Roxane, counsel representing Roxane, or their
               agents.

        2.     Documents reflecting the mental impressions of attorneys representing Roxane,
               or containing or reflecting work undertaken at the direction of attorneys
               representing Roxane. These communications have not been voluntarily disclosed



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               to any persons other than employees of Roxane, counsel representing Roxane, or
               their agents.

        3.     Documents seeking or reflecting work product by Roxane's counsel, in
               connection with pending or anticipated litigation involving allegations similar to
               those in this case. These communications have not been voluntarily disclosed to
               any persons other than employees of Roxane, counsel representing Roxane, or
               their agents.

       Roxane’s identification of specific documents or categories of documents in this

Response shall not be construed as an admission by Roxane of the existence or authenticity of

such documents or categories of documents, and Roxane specifically reserves any objections that

it may have as to the discoverability of such documents or categories of documents. This

Response is not a waiver of any objections that Roxane may have.



(C)     A computation of any category of damages claimed by the disclosing party, making
        available for inspection and copying as under Rule 34 the documents or other
        evidentiary material, not privileged or protected from disclosure, on which such
        computation is based, including materials bearing on the nature and extent of
        injuries suffered.

RESPONSE:

       Roxane is not asserting a claim for damages at this time. The Government has the burden

of proving damages. Roxane disputes liability and, to the extent it is necessary and appropriate,

will also contest the Government’s damages claim. Without limitation, Roxane denies that the

Government has suffered any injury whatsoever.




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(D)     For inspection and copying as under Rule 34 any insurance agreement under which
        any person carrying on an insurance business may be liable to satisfy part or all of
        a judgment which may be entered in the action or to indemnify or reimburse for
        payments made to satisfy the judgment.

RESPONSE:

       Roxane is not currently aware of any insurance agreement under which an insurance

carrier will be liable to satisfy part or all of a judgment which may be entered in the action or to

indemnify or reimburse for payments made to satisfy the judgment.



Dated: January 12, 2009                              Respectfully submitted,


                                                       /s/ Eric T. Gortner
                                                   Helen E. Witt, P.C.
                                                   Anne M. Sidrys, P.C.
                                                   Eric T. Gortner
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                                                   On behalf of Defendants Boehringer Ingelheim
                                                   Roxane, Inc. and Roxane Laboratories, Inc.




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                                CERTIFICATE OF SERVICE

               I certify that a true and correct copy of the foregoing was delivered to all counsel

of record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by

sending on January 12, 2009, a copy to LexisNexis File and Serve for posting and notification to

all parties.

                                                          /s/ Eric T. Gortner
                                                            Eric T. Gortner
